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Hon. Benjamin H. Settle

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON AT TACOMA

JASON MADSEN,
No. 3:17-cv-05528-BHS
Plaintiff,
STIPULATED MOTION AND
vs. SUBJOINED ORDER OF DISMISSAL
WITH PREJUDICE
DYNAMIC COLLECTORS, INC.,
NOTED FOR HEARING
Defendant. AUGUST 23, 2017

 

 

 

I. STIPULATED MOTION
IT IS STIPULATED by and between Plaintiff Jason Madsen and defendant Dynamic

Collectors, Inc. through their attorneys of record, that all claims set forth in the Complaint
should be dismissed with prejudice, and with each party bearing their own costs.

DATED this 23rd day of August, 2017.

 

 

Presented jointly by:

NORTHWEST DEBT RELIEF LAW FIRM LEE SMART, P.S., INC.

By:_/s Thomas McAvity (via consent) By: /s Marc Rosenberg
Thomas McAvity, WSBA No, 35197 Marc Rosenberg, WSBA 31034
Attorneys for Plaintiff Attorneys for Defendant
Jason Madsen Dynamic Collectors, Inc.
14900 Interurban Ave S. 1800 One Convention Place
Ste 271 PMB 43 701 Pike Street
Seattle, WA 98168 Seattle, WA 98101
(503) 860-6868 (206) 624-7990
tom@nwrelief.com mr@leesmart.com

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PS., Inc.» Pacific Northwest Law Offices

1800 One Convention Place : 701 Pike Street - Seattle -WWA + 98101-3929
Tel. 206.624.7990 - Toll Free 877.624.7990 - Fax 206.624.5944

 
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II. ORDER OF DISMISSAL

The Court, having reviewed the Stipulated Motion of the Parties now enters the
following Order:

It is hereby ordered that all claims set forth in Plaintiffs’ Complaint are dismissed with
prejudice, and the case is dismissed with prejudice in its entirety, with each party bearing their

own costs.

There being no just cause for delay, the Clerk of the Court is directed to immediately

enter this Order and close the above-captioned case.

ENTERED this 0% day of August, 2017.

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HonBenj Settle
U.S. District Judge

   

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Tel. 206.624.7990 - Toll Free 877.624.7990 - Fax 206.624.5944

 
